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             EXHIBIT 2
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                            AWP II – Supplemental Notice
                              Television Spot Script




                                             If you paid cash or made percentage co-
                                             payments for certain prescription drugs,
                                             you could get money back from a class
                                             action settlement. A percentage co-
                                             payment varies with the price of the
                                             drug.


          New Words on Screen:
 If you paid cash or made percentage co-
payments for certain drugs, you could get
               money back.




                                             Hundreds of drugs for a wide range of
                                             conditions such as asthma and cancer are
                                             included. Often these drugs are injected
                                             in a doctor’s office or clinic.




                                             For the list of drugs and claim-filing
                                             information, call 877-465-8136 or visit
                                             AWPTrack2Settlement.com.
